    Case: 23-60069   Document: 233-4    Page: 1   Date Filed: 04/17/2023




                            NO. 23-60069


         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT


                      STATE OF TEXAS, et al.,

                             Petitioners,

                                  v.

  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
          and MICHAEL S. REGAN, Administrator,
        United States Environmental Protection Agency,

                            Respondents.


  MOTION OF PROPOSED INTERVENORS SIERRA CLUB,
 DOWNWINDERS AT RISK, AND AIR ALLIANCE HOUSTON
   FOR LEAVE TO FILE A RESPONSE IN OPPOSITION
         TO LOUISIANA’S MOTION FOR STAY



/s/ Joshua D Smith                     /s/ Kathleen L. Riley
Joshua D. Smith                        Kathleen L. Riley
Sierra Club                            Seth L. Johnson
2101 Webster Street, Suite 1300        Earthjustice
Oakland, California 94612              1001 G St NW, Ste. 1000
415-977-5560                           Washington, DC 20001
415-977-5704                           202-745-5227
joshua.smith@sierraclub.org            202-797-5245
                                       kriley@earthjustice.org
Zachary M. Fabish                      sjohnson@earthjustice.org
Sierra Club
    Case: 23-60069   Document: 233-4    Page: 2   Date Filed: 04/17/2023




50 F St NW, 8th Floor                  Counsel for Sierra Club,
Washington, DC 20001                   Downwinders at Risk, and Air
650-388-8446                           Alliance Houston
zachary.fabish@sierraclub.org

Counsel for Sierra Club                Filed: April 17, 2023
       Case: 23-60069   Document: 233-4   Page: 3   Date Filed: 04/17/2023




                               NO. 23-60069


            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT


                         STATE OF TEXAS, et al.,

                                Petitioners,

                                     v.

   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
           and MICHAEL S. REGAN, Administrator,
         United States Environmental Protection Agency,

                               Respondents.


             CERTIFICATE OF INTERESTED PERSONS

       The undersigned counsel of record certifies that the following

listed persons and entities as described in the fourth sentence of Fifth

Circuit Local Rule 28.2.1 have an interest in the outcome of this case.

These representations are made in order that the judges of this court

may evaluate possible disqualification or recusal.

  1.     Petitioners: State of Texas; Texas Commission on
         Environmental Quality; Luminant Generation Company LLC;
         Coleto Creek Power, LLC; Ennis Power Company, LLC; Hays
         Energy, LLC; Midlothian Energy, LLC; Oak Grove
         Management Company LLC; Wise County Power Company,
         LLC (Parent Companies: Vistra Corp.; Vistra Intermediate
     Case: 23-60069   Document: 233-4   Page: 4   Date Filed: 04/17/2023




       Company LLC, Vistra Operations Company LLC); Association
       of Electric Companies of Texas; BCCA Appeal Group; Texas
       Chemical Council; Texas Oil & Gas Association; Mississippi
       Power Company; State of Mississippi and Mississippi
       Department of Environmental Quality; Mississippi Power
       Company (Parent Company: Southern Company); State of
       Louisiana and Louisiana Department of Environmental
       Quality; Entergy Louisiana LLC; Entergy Louisiana, LLC;
       Louisiana Chemical Association; Louisiana Mid-Continent Oil
       & Gas Association; Louisiana Electric Utility Environmental
       Group, LLC; and Texas Lehigh Cement Company, LP.

2.     Counsel for Petitioners State of Texas and Texas Commission
       on Environmental Quality: Ken Paxton, Attorney General of
       Texas; Michael R. Abrams, Assistant Solicitor General;
       Williams F. Cole, Assistant Solicitor General; Bill Davis,
       Deputy Solicitor General; Joseph N. Mazzara, Assistant
       Solicitor General; Judd Stone, Solicitor General; Brent
       Webster, First Assistant Attorney General, all with the Office
       of the Attorney General for the State of Texas.

3.     Counsel for Petitioners Luminant Generation Company LLC
       and Luminant Mining Company LLC: P. Stephen Gidiere III
       and Julia B. Barber with Balch & Bingham, LLP; Stephanie Z.
       Moore, Daniel J. Kelly, and David W. Mitchell.

4.     Counsel for Petitioners Association of Electric Companies of
       Texas, BCCA Appeal Group, Texas Chemical Council, Texas Oil
       & Gas Association: Matthew L. Kuryla and Aaron M. Streett
       with Baker Botts L.L.P.

5.     Counsel for Petitioner State of Mississippi and Department of
       Environmental Quality: Lynn Fitch, Attorney General; Justin
       Matheny, Deputy Solicitor; Whitney H. Lipscomb, Deputy
       Attorney General all with the State of Mississippi Office of the
       Attorney General.
     Case: 23-60069   Document: 233-4   Page: 5   Date Filed: 04/17/2023




6.     Counsel for Petitioner State of Louisiana and Louisiana
       Department of Environmental Quality: Jeff Landry, Attorney
       General; Joseph S. St. John, Deputy Solicitor General;
       Elizabeth B. Murrill, Solicitor General; Machelle Hall,
       Assistant Attorney General with the Louisiana Department of
       Justice; Courtney J. Burdette and Jill C. Clark with the
       Louisiana Department of Environmental Quality.

7.     Counsel for Mississippi Power Company: C. Grady Moore, III,
       Susan Scaggs, Shawn Shurden with Balch & Bingham LLP.

8.     Counsel for Entergy Louisiana, LLC: Debra Jezouit with Baker
       Botts L.L.P.

9.     Counsel for Louisiana Chemical Association; Louisiana Mid-
       Continent Oil & Gas Association; Louisiana Electric Utility
       Environmental Group, LLC: Maureen N. Harbourt, Lauren B.
       Rucinski, and Josiah M. Kollmeyer with Kean Miller LLP.

10.    Counsel for Texas Lehigh Cement Company LP: Megan H.
       Berge and J. Mark Little with Baker Botts L.L.P.

11.    Respondents: United States Environmental Protection Agency;
       Michael S. Regan, Administrator, U.S. Environmental
       Protection Agency; David Gray, Acting Regional Administrator,
       Region 6, U.S. Environmental Protection Agency; Daniel
       Blackman, Regional Administrator, Region 4, U.S.
       Environmental Protection Agency; Earthea Nance, Regional
       Administrator.

12.    Counsel for Respondents United States Environmental
       Protection Agency and Michael S. Regan: Merrick Garland,
       Attorney General of the U.S. Department of Justice; Jin Hyung
       Lee with the U.S. Department of Justice Environment &
       Natural Resources Division; Todd Kim, Assistant Attorney
       General; Jeffrey M. Prieto.
  Case: 23-60069   Document: 233-4   Page: 6   Date Filed: 04/17/2023




13.   Proposed-Intervenors: Sierra Club is a non-profit organization
      that maintains open membership invitation to organizations,
      businesses, individuals, and the public in general. Accordingly,
      Sierra Club consists of many individual members.

      Air Alliance Houston is a nonprofit corporation organized and
      existing under the laws of the State of Texas, with its
      headquarters in Houston, Texas. Air Alliance Houston works to
      reduce air pollution in the Houston region to protect public
      health and environmental integrity through research,
      education, and advocacy.

      Downwinders at Risk is a nonprofit corporation organized and
      existing under the laws of the State of Texas, with its
      headquarters located in Dallas, Texas. Downwinders at Risk is
      a diverse grassroots citizens group dedicated to protecting
      public health and the environment.

      Neither Sierra Club, Air Alliance Houston, nor Downwinders at
      Risk have any parent companies; and no publicly-held company
      owns a 10% or greater interest in Sierra Club, Air Alliance
      Houston, or Downwinders at Risk.

14.   Counsel for Proposed-Intervenors: Joshua Smith and Zachary
      Fabish with Sierra Club; Kathleen L. Riley and Seth L.
      Johnson, with Earthjustice.

                               Respectfully submitted,

                               /s/ Joshua Smith
                               Joshua D. Smith
                               Sierra Club
                               2101 Webster Street, Suite 1300
                               Oakland, California 94612
                               415-977-5560 (phone)
                               joshua.smith@sierraclub.org
     Case: 23-60069   Document: 233-4   Page: 7   Date Filed: 04/17/2023




                      MOTION FOR LEAVE TO FILE

          A RESPONSE TO LOUISIANA’S MOTION TO STAY

     Proposed-Intervenors Sierra Club, Downwinders at Risk, and Air

Alliance Houston, and Downwinders at Risk respectfully move for leave

to file the attached response in opposition to the motion filed by the

State of Louisiana and the Louisiana Department of Environmental

Quality to stay the U.S. Environmental Protection Agency (“EPA”)

action at issue in this case (the “Louisiana Stay Motion”). In support of

the Motion, Proposed-Intervenors state as follows:

     1.    This case involves petitions for review filed by Texas,

Louisiana, Mississippi, and several power plants and industrial sources

in two states, challenging a single EPA rule disapproving Clean Air Act

state implementation plans for 21 states, Interstate Transport of Air

Pollution for the 2015 8-Hour Ozone National Ambient Air Quality

Standards, 88 Fed. Reg. 9,336 (Feb. 13, 2023) (“Disapproval Rule”).

EPA disapproved all 21 state implementation plans, in part, because

each of the state plans failed to require emission reductions necessary

to eliminate each respective state’s contribution to harmful interstate

ozone pollution.
      Case: 23-60069   Document: 233-4   Page: 8   Date Filed: 04/17/2023




      2.   On February 14, 2023, Texas State Petitioners and Texas

Industry Petitioners filed petitions for judicial review of EPA’s

Disapproval Rule in this Court. Case No. 23-60069. On March 16,

Mississippi also filed a petition for review in this Court. Case No. 23-

60069. The next day, on March 17, Mississippi Power Company filed a

separate petition. Id. Louisiana then filed for review on March 20, 2023.

Id.

      3.   On March 27, 2023, Louisiana filed its opposed Stay Motion

seeking to stay the Disapproval Rule. On March 30, 2023, this Court

entered an order extending the deadline for a response to Louisiana’s

Stay Motion until April 17, 2023.

      4.   Proposed-Intervenors filed a timely Motion for Leave to

Intervene in each of the petitions for review filed in the above-captioned

case on March 27, 2023.

      5.   As explained in detail in their Motion for Leave to Intervene,

Proposed-Intervenors are non-profit organizations, with tens of

thousands of members in Texas, Louisiana, Mississippi, and the other

states subject to the Disapproval Rule, and dedicated to protecting
      Case: 23-60069    Document: 233-4   Page: 9   Date Filed: 04/17/2023




public health and the environmental from the impacts of harmful ozone

pollution.

     6.      To further their interests in reducing ozone pollution in

Texas, Louisiana, and Mississippi, as well as harmful ozone pollution

that travels from those states downwind to other states, Proposed-

Intervenors have worked for years in the Clean Air Act rulemaking

processes and judicial proceedings leading up to the Disapproval Rule,

including, among others:

          x The Cross-State Air Pollution Rule. See Order, EME Homer
            City Generation L.P. v. EPA, No. 11-1302 (and consolidated
            cases) (D.C. Cir. Oct. 12, 2011).

          x The Cross-State Air Pollution Rule Update. See Order,
            Wisconsin v. EPA, No. 16-1406 (and consolidated cases) (D.C.
            Cir. Jan. 31, 2017); see also Wisconsin v. EPA, 938 F.3d 303
            (D.C. Cir. 2019).

          x The Cross-State Air Pollution Rule Close-Out. Brief of
            Citizen Petitioners, New York v. EPA, No. 19-1019 (and
            consolidated cases) (D.C. Cir. Apr. 19, 2019); see also New
            York v. EPA, 781 F. App’x 4, 7 (D.C. Cir. 2019).

          x The Revised Cross-State Air Pollution Rule Update. See
            Complaint, Downwinders at Risk, et al., No. 20-cv-00349
            (D.D.C. Feb. 7, 2020); New Jersey v. Wheeler, 475 F. Supp. 3d
            308 (S.D.N.Y 2020); see also Midwest Ozone Group v. EPA,
            No. 21-1146, 2023 WL 2337782 (D.C. Cir. Mar. 3, 2023).
     Case: 23-60069   Document: 233-4   Page: 10   Date Filed: 04/17/2023




          x The Disapproval Rule. See Complaint, Downwinders at Risk,
            et al. v. Regan, No. 4:21-cv-03551-DMR (N.D. Cal. May 12,
            2021).

     7.     EPA issued the Disapproval Rule in response to Proposed-

Intervenors’ lawsuit to compel the agency to fulfill its Clean Air Act

obligations to ensure that the states adequately address their harmful

downwind air pollution. See Complaint, Downwinders at Risk, et al. v.

Regan, No. 4:21-cv-03551-DMR (N.D. Cal. May 12, 2021); see also

Complaint, State of New York, et al. v. Regan, 1:21-ccv-00252-ALC

(S.D.N.Y. Jan. 12, 2021).

     8.     Thus, Proposed-Intervenors have protectable aesthetic,

recreational, health, cultural, and environmental benefits interests in

this case. The outcome of this case will determine whether EPA must

allow Texas, Louisiana, Mississippi, and the 18 other states subject to

the rule to continue doing nothing to eliminate their contribution to

interstate pollution, prolonging Proposed-Intervenors’ members’

exposure to unhealthy air. Proposed-Intervenors also have a strong

interest in the uniform and consistent interpretation and national

application of the requirements of the Clean Air Act, including the Act’s

requirement that each state eliminate pollution that significantly
     Case: 23-60069   Document: 233-4   Page: 11   Date Filed: 04/17/2023




contributes to unhealthy air in other states, or interferes with

downwind states’ ability to meet air quality standards.

     9.    Proposed-Intervenors respectfully request that the Court

allow the filing of the accompanying proposed response so that it may

contribute to the Court’s deliberations concerning the Louisiana Stay

Motion. Given that multiple states adopted methodologies for

evaluating downwind pollution that were identical or similar to

Louisiana’s, the Louisiana Stay Motion raises significant legal and

factual issues that could affect the implementation of the national rule.

See, e.g., 88 Fed. Reg. at 9,354-56, and 9,360 (Alabama, Arkansas,

Indiana, Kentucky, Louisiana, Texas, and West Virginia employed

similar back-trajectory analyses); id. at 9,369 (disapproving all 21 state

plans because “no state provided any enforceable emission control

strategies”). Proposed-Intervenors respectfully submit that

consideration of the accompanying response will assist the Court in the

resolution of those legal and factual issues in a consistent and efficient

manner.

     10.   Pursuant to Fifth Circuit Rule 27.4, Proposed-Intervenors

have consulted with counsel for the other parties in this case. EPA, the
       Case: 23-60069   Document: 233-4   Page: 12   Date Filed: 04/17/2023




Texas State Petitioners,1 Texas Industry Intervenors,2 the Mississippi

Petitioners,3 and Entergy Louisiana take no position on Proposed-

Intervenors’ Motion for Leave to File a Response to the Louisiana Stay

Motion. The Louisiana Chemical Association, Louisiana Mid-Continent

Oil & Gas Association, Louisiana Electric Utility Environmental Group,

LLC, and Texas Lehigh Cement Company LP, who each filed petitions

for review on April 17, did not respond to counsel’s inquiry. The

Louisiana State Petitioners oppose the motion.4

       For the foregoing reasons, Proposed-Intervenors request leave to

file the accompanying Response in Opposition to the Louisiana Stay

Motion.


1The“Texas State Petitioners” are the State of Texas, the Texas
Commission on Environmental Quality, the Texas Public Utility
Commission, and the Railroad Commission of Texas.
2 The “Texas Industry Petitioners” are Luminant Generation Company

LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays
Energy LLC, Midlothian Energy, LLC, Oak Grove Management
Company LLC, Wise County Power Company, LLC, Association of
Electric Companies of Texas, BCCA Appeal Group, Texas Chemical
Counsel, and Texas Oil & Gas Association.
3 The “Mississippi Petitioners” are the State of Mississippi, the
Mississippi Department of Environmental Quality, and Mississippi
Power Company.
4 The “Louisiana Petitioners” are the State of Louisiana and the
Louisiana Department of Environmental Quality.
Case: 23-60069   Document: 233-4   Page: 13   Date Filed: 04/17/2023




                             Respectfully submitted,

                             /s/ Joshua Smith
                             Joshua D. Smith
                             Sierra Club
                             2101 Webster Street, Suite 1300
                             Oakland, California 94612
                             415-977-5560 (phone)
                             joshua.smith@sierraclub.org
     Case: 23-60069    Document: 233-4   Page: 14   Date Filed: 04/17/2023




                      CERTIFICATE OF CONFERENCE

     Pursuant to Fifth Circuit Rule 27.4, Proposed-Intervenors have

consulted with counsel for the other parties in this case. EPA, the Texas

State Petitioners, Texas Industry Intervenors, the Mississippi State

Petitioners, and Entergy Louisiana take no position on Proposed-

Intervenors’ Motion for Leave to File a Response to the Louisiana Stay

Motion. The Louisiana Chemical Association, Louisiana Mid-Continent

Oil & Gas Association, Louisiana Electric Utility Environmental Group,

LLC, and Texas Lehigh Cement Company LP did not respond to

counsel’s inquiry. The Louisiana State Petitioners oppose the motion.

     Dated: April 17, 2023


                                               /s/ Joshua Smith
                                               Joshua Smith
                                               Counsel for Sierra Club
     Case: 23-60069   Document: 233-4   Page: 15   Date Filed: 04/17/2023




CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT

     The undersigned counsel states that this motion complies with

Fed. R. App. P. 27(d)(2)(A) because it contains 1,102 words, excluding

the caption, signature blocks, and required certifications, as counted by

a word processing system and, therefore, is within the word limit. This

motion also complies with typeface requirements of Fed. R. App. P.

27(d)(1)(E) because it has been prepared in a proportionally spaced

typeface in 14-point Century Schoolbook font.

     Dated: April 17, 2023

                                              /s/ Joshua Smith
                                              Joshua Smith
                                              Counsel for Sierra Club
     Case: 23-60069   Document: 233-4   Page: 16   Date Filed: 04/17/2023




      CERTIFICATIONS UNDER ECF FILING STANDARDS

     Pursuant to paragraph A(6) of this Court’s ECF Filing Standards,

I hereby certify that (1) required privacy redactions have been made,

5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the

paper document, 5th Cir. R.25.2.1; and (3) the document has been

scanned for viruses with the most recent version of a commercial virus

scanning program and is free of viruses.

     Dated: April 17, 2023

                                              /s/ Joshua Smith
                                              Joshua Smith
                                              Counsel for Sierra Club
     Case: 23-60069   Document: 233-4   Page: 17   Date Filed: 04/17/2023




                      CERTIFICATE OF SERVICE

     On this 17th day of April, 2023 a true and correct copy of the

foregoing Motion of Proposed Intervenors Sierra Club, Downwinders at

Risk, and Air Alliance Houston for Leave to File a Response in

Opposition to Louisiana’s Motion to Stay was filed with the electronic

case filing (“ECF”) system of the U.S. Court of Appeals for the Fifth

Circuit, which will provide electronic notice to counsel of record.



                                              /s/ Joshua Smith
                                              Joshua Smith
